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              BEFORE THE UNITED STATES JUDICIAL PANEL
                   ON MULTIDISTRICT LITIGATION



IN RE: SAMSUNG DATA BREACH
LITIGATION                                                   MDL NO. 3055




  INTERESTED PARTY RESPONSE OF PLAINTIFFS BENNETT AND
 GELIZON TO PLAINTIFFS SEIRAFI AND HOLTZCLAW’S MOTION FOR
 TRANSFER OF ACTIONS TO THE UNITED STATES DISTRICT COURT
     FOR THE NORTHERN DISTRICT OF CALIFORNIA AND FOR
         CONSOLIDATION PURSUANT TO 28 U.S.C. § 1407

      John Bennett who is the plaintiff in the action styled John Bennett v. Samsung

Electronics America, Inc., Case No. 1:22-cv-5540 (N.D. Ill) (filed Sept. 2, 2022 in

Circuit Court of Cook County, case number 2022 CH 8767, removed on October 10,

2022) and Jay Gelizon, who is the plaintiff in the action styled Jay Gelizon v. Samsung

Electronics America, Inc., Case No. 2:22-cv-01706-APG-DJA (D. Nevada) (filed Sept.

2, 2022 in Eighth Judicial District Court, Clark County, Nevada, case number A-22-

857862-C, Department 3, removed on October 10, 2022) (collectively, “Plaintiffs”),

respectfully submit this response to the pending motion submitted pursuant to 28

U.S.C. § 1407 requesting transfer and centralization of all actions that seek economic

and equitable remedies due to the recent data breach experienced by Samsung and

support centralization in the U.S. District Court for the Northern District of

California (“Northern District” or “California”).

      Plaintiffs Naeem Seirafi and Shelby Holtzclaw have moved this Panel to be

consolidated in the U.S. District Court for the Northern District of California. (Dkt.

# 1-1). Plaintiffs Bennett and Gelizon write in support of this motion and support the
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consolidation before the United States Judicial Panel on Multidistrict Litigation (the

“Panel” or “JPML”) and centralization in the Northern District of California.

      The Bennet Plaintiffs support venue for the multidistrict litigation to proceed

in the United States District Court for the Northern District of California where

Defendant’s operations are based and where, other than the instant cases, the earliest

lawsuit was filed. There, one action is already pending and assigned to the Honorable

Judge Jacqueline Scott Corley for disposition. While a group of Plaintiff’s have moved

to consolidate these matters in the U.S. District Court for New Jersey, the Plaintiffs

respectfully submit that the Northern District of California would be the best, most

efficient and most streamlined forum for these Actions.

                                     INTRODUCTION

      The Data Breach experienced by Samsung, and announced in August 2022

involved millions, to tens of millions, of consumers having their data exposed to

identity thieves that they had entrusted Samsung with. This Personal Identifying

Information (“PII”) involves information about customers including websites and

advertisements viewed, GPS data, physical and email addresses, telephone numbers,

names and media consumed by the customers.

      In all of the putative class actions filed, the named plaintiffs rely upon nearly

identical facts and are generally seeking the same types of relief. All plaintiffs in the

Actions claim Samsung’s failure to properly secure and safeguard the PII of borrowers

resulted in the Data Breach that affected millions of its customers. All the Actions

filed also reference claims of negligence, violations of various consumer protection



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statutes, and/or violations of common law principles against Samsung, arising from

the Data Breach.

      Centralization in a single federal court will hasten and facilitate a

comprehensive remedy for individuals affected by the Data Breach. The similarity of

the putative class actions makes centralization appropriate, and the best transferee

forum for these actions is in the Northern District of California.

                                     ARGUMENT

      All of the putative class action complaints filed since the Data Breach was

announced address the same underlying actions and omissions by Samsung.

Coordination is necessary to avoid duplicative discovery, promote just and efficient

conduct of these cases, and prevent inconsistent rulings.

     A.   Transfer and Consolidation Pursuant to U.S.C. § 1407 is
Appropriate.

      28 U.S.C. § 1407 authorizes the JPML to transfer actions sharing common

questions of fact to a single district for coordinated or consolidated pretrial

proceedings. Plaintiffs respectfully submit that, in this case, centralization of these

in the Northern District of California would be appropriate. A detailed recitation of

the well-known standard is not necessary, and Plaintiffs rely upon the Panel’s

familiarity with the governing legal principles at issue. The Plaintiffs additionally

rely in part on the thorough and well-researched brief of Plaintiffs Seirafi and

Holtzclaw in the initial motion. (Dkt. # 1-1).

      The Panel typically considers four factors in deciding whether to transfer a case

under Section 1407:


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      a.     the elimination of duplication in discovery;

      b.     the avoidance of conflicting rules and schedules;

      c.     the reduction of litigation cost; and

      d.     the conservation of the time and effort of the parties, attorneys,

witnesses, and       courts.
      Here, all of these factors are met:

      First, the Litigation involves common Questions of Fact as all of the Actions

relate to Samsung’s alleged actions and inactions regarding the Data Breach

announced in August 2022 and impacting millions, if not tens of millions, of

Americans.

      The Panel has frequently centralized large-scale data breach cases such as this

since the questions of fact are common. See, e.g., In re: T-Mobile Customer Data Sec.

Breach Litig., 576 F. Supp. 3d 1373,1374 (J.P.M.L. 2021); In re Mednax Servs., Inc.,

Customer Data Sec. Breach Litig., No. MDL 2994, 544 F. Supp. 3d 1371, at *1

(J.P.M.L. 2021). As all of these Actions are filed as class actions and centralization

will help prevent duplicative discovery that would only delay the swift, efficient and

cost-effective adjudication of these matters.

      Additionally, consolidation will help avoid conflicting rules and schedules by

allowing the matters to avoid inconsistent rulings as well as move forward towards

adjudication with a minimum of delay. Consolidation will also reduce the litigation

costs by streamlining and providing a path forward for all cases without duplication

of effort among multiple parties. This will also conserve the time and resources of all

parties, including witnesses, attorneys’ and judicial resources by avoiding the need

for duplicate depositions, expert witnesses, evidentiary hearings, or other actions.
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      B.     Transfer to the United States District Court for the Northern

District of California is Appropriate.

      The most appropriate venue for transferring and consolidating the Actions is

the Northern District of California and is supported by numerous Plaintiffs. The

Plaintiffs concur and support the Seirafi and Holtzclaw Plaintiffs’ motion filed herein

on October 7, 2022, to the extent it requests consolidation and transfer of the Actions

to the Northern District of California. (Dkt. # 1-1).

      There are numerous factors which the Panel typically takes into consideration

in determining the most appropriate transferee forum. Among those factors are (1)

convenience of the parties; (2) location of witnesses and other evidence; (3) whether

the district is in an accessible metropolitan location; (4) experience in management of

class actions and complex litigation; (5) the caseload of the transferee district; and (6)

the number of cases pending in the jurisdiction. See, e.g., In re Wheat Farmers

Antitrust Class Action Litig., 366 F. Supp. 1087, 1088 (J.P.M.L.1973); In re

Preferential Drug Prod. Pricing Antitrust Litig., 429 F. Supp. 1027, 1029 (J.P.M.L.

1977); In re Tri-State Crematory Litig., 206 F. Supp. 2d 1376, 1378 (J.P.M.L. 2002);

In re Gen. Motors Corp. Dex-Cool Prod. Liab. Litig., 293 F. Supp. 2d 1381, 1382

(J.P.M.L. 2003); In re Educ. Testing Serv. Prt 7-12 Test Scoring Litig., 350 F. Supp.

2d 1363, 1365 (J.P.M.L. 2004).

       While meeting all of these factors is not required, consolidation in the Northern

District of California could meet them. Defendant maintains a large office from which

many of its engineers and executives that have knowledge or decision making

regarding the breach are located, which would provide convenience for the parties

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and is also the location of the witnesses and other evidence. The Northern District of

California is also located within an hour from Defendant’s offices in San Jose,

California and a large metropolitan area with easy access to all parts of the country.

Additionally, Defendant’s parent corporation, Samsung Electronics Co. Ltd.,1 is a

South Korean multinational electronics corporation. To the extent that Samsung

requires witnesses or decision-makers from its parent company in South Korea, travel

times and convenience would also be more convenient on the west coast than on the

east coast.

         As the Seirafi and Holtzclaw Plaintiffs point out, one of the MDL cases is

currently in front of Honorable Jacqueline Scott Corley in the Northern District of

California. Judge Corley, as she is recently appointed, has more time and resources

to expend on this matter than another judge with a larger caseload. This means that

the Actions will likely be able to be resolved faster, more efficiently and more cost-

effectively than if in front of a judge with a substantially larger and older set of cases.

Judge Corley, who was a magistrate judge for a decade prior to her appointment as a

District Judge, has substantial experience in complex litigation and has, as the Seirafi

and Holtzclaw Plaintiffs point out, experience in MDL disputes as well. (Dkt. # 1-1,

page 12).

         The Northern District of California additionally has a lower caseload per judge,

with an average of 890 pending cases per judge in June 2022, and 10 th in the nation

as opposed to the District of New Jersey, which has 3,815 cases per judge and is 2 nd

in the in terms of pending cases per judge. As a result, transfer to Northern District


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    Dkt. 11 (Defendant’s Corporate Disclosure Statement).
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of California will more efficiently distribute judicial resources and avoid

overburdening any specific court with cases.2

           While Bennett and Gelizon filed their cases in Illinois and Nevada respectively

and if based on the date filed in state court, were the first filed cases, they believe

that the Northern District of California would provide all parties with the venue that

would be the most convenient, conserve judicial resources, and allow the parties to

move this case to adjudication quickly and inexpensively.

           Plaintiffs agree that if the Northern District of California is not chosen, the

District of New Jersey would be a reasonable alternative as some of the actions are

pending there in front of Judge Martini, who is an experienced Senior Judge and who

is more than capable of handling this MDL.

                                                CONCLUSION

           For all the foregoing reasons, Plaintiffs respectfully request an Order granting

the Seirafi and Holtzclaw’s Motion to Transfer and Consolidation to the Honorable

Judge Jacquelyn Scott Corley in the Northern District of California pursuant to 28

U.S.C. § 1407.

Date: October 27, 2022

                                                               Respectfully submitted,

                                                               /s/ Bryan Paul Thompson
                                                               Bryan Paul Thompson
                                                               Robert W. Harrer
                                                               CHICAGO CONSUMER LAW CENTER, P.C.
                                                               33 N. Dearborn St., Suite 400
                                                               Chicago, Illinois 60602
                                                               Tel. 312-858-3239
                                                               Fax 312-610-5646

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                                 bryan.thompson@cclc-law.com
                                 rob.harrer@cclc-law.com


                                 /s/ Michael Kind
                                 Michael Kind, Esq.
                                 Nevada Bar No. 13903
                                 KIND LAW
                                 8860 South Maryland Parkway
                                 Suite 106
                                 Las Vegas, NV 89123
                                 Phone: (702 337-2322
                                 FAX: (702) 329-5881
                                 Email: mk@kindlaw.com




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